                                                         UNITED STATES BANKRUPTCY COURT
                                                          WESTERN DISTRICT OF LOUISIANA

 IN RE: (Debtor)                                                 :             CASE NO. 21-10132
             Tatyana N. Rhodes                                   :
                                                                 :             CHAPTER 13
                                                   ADDENDUM TO CHAPTER 13 PLAN
                                            APPLICATION AND NOTICE FOR ATTORNEY'S FEES

        This Addendum is filed in compliance with 11 USC §§ 330(a)(4)(B), 331, 503(b), 507(a)(2) & 1326(b)(1);
Bankruptcy Rules 2002 & 2016; and pursuant to the STANDING ORDER REGARDING "NO LOOK" FEES AND
ADDENDUMS IN CHAPTER 13 CASES (UNIFORM FEE ORDER), adopted by the Bankruptcy Judges of the
Western District of Louisiana, filed February 1, 2017. This application is set forth and noticed in the Debtor’s Plan
Summary and objections to same must be filed with the Clerk and served on the Trustee and Debtor's attorney at least
seven (7) days prior to the date set for the hearing on confirmation of the Chapter 13 Plan. Considering the facts and time
involved in this particular matter, counsel for the debtor(s) makes the following election and request regarding
compensation for representation in the above-captioned case: [Check applicable provision(s)]

 (1)                     COUNSEL ELECTS THE "NO LOOK FEE."
       Counsel for Debtor(s) hereby makes the "No Look" election provided for in UNIFORM FEE ORDER and hereby
       agrees to perform all pre-confirmation and post confirmation services set forth in same for a monetary sum not to
       exceed $2850. Counsel hereby acknowledges that any advances made by counsel for filing fees or expenses
       pre-confirmation will be considered included in the no-look fee not to exceed $3850.00. Any expenses paid by
       Counsel prior to confirmation shall be itemized on the attorney disclosure statement pursuant to F.R.B.P. 2016 and
       Form B 203. Such expenses shall also be reflected in the plan and plan summary.

       Per the UNIFORM FEE ORDER the pre-confirmation "No Look" compensation and reimbursement of advanced
       expenses fee applicable in this case is [Check Applicable Provision]:

                                $3850.00 OR

                                The total amount to be disbursed on a monthly basis to creditors/claimants by both the Trustee and
                                the debtor(s) under the plan is less than $200.00; therefore, the "no-look" compensation and
                                reimbursement of advanced expenses in this case is limited to 10 times the total amount of such
                                payments, which amounts to a "No Look" fee request in this case of $____________.              OR

 (2)                             COUNSEL ELECTS TO FILE A FORMAL FEE APPLICATION IN LIEU OF THE "NO LOOK"
                                 FEE

        Counsel for Debtor(s) hereby acknowledges that the total compensation and expenses requested, including but not
        limited to the filing fee, credit counseling costs and other charges advanced by debtor’s counsel, may exceed $3850,
        and the no-look fee option set forth above should not apply. In order for such compensation and expenses to be
        approved counsel will file a separate application for compensation and expenses, which must be noticed for a hearing
        pursuant to 11 U.S.C. §330, F.R.B.P. 2016, LBR 2016-1, and the United States Trustee Guidelines. -Such election
        shall also be reflected on the Attorney Disclosure Statement pursuant to F.R.B.P. 2016 and Form B203, and the
        election shall also be referenced in the plan and plan summary.

 DATED: February 12, 2021                                                       BY:    /s/ Michele S. Cook
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